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      Raymond Perez
 1    8607 Imperial Hwy., Ste. 100
      Downey , CA 90242
 L     (562)862-9944
 3
                                     UNITED STATES BANKUPTCY COURT
 4

 5
         RE:                                         )
                                                      ) Case No.:      s ;&'-/4/'79- Tf\­
 6                                                   )
                                                      ) DECLARATION OF:
 7                                                    ) CELIA LOPEZ VALLECILLO
       elia Lopez Vall ecilJo                     )
 8                                                )
 9
     1-1--   -   - - - -- -- - -­               -)

10

11                        DECLARATION OF CELIA LOPEZ VALLECILLO
12               The following is within my personal knowledge and I could and would
13     testify thereto if called upon.
14               The declaration is submitted in support of my filing of Chapter 7
15     bankruptcy. Debtor has used social security number XXX-XX-XXXX from 2008 to
16     date for the purposes of obtaining employment. I have not used any other names
17     and my address for the past 4 months is 1430 Raitt Street, Apt. 3, Santa Ana, CA
18     92704 and prior to that my address was 2402 N. Stanford Street, Santa Ana, CA
19     92704 where I lived for 3 years.
20               We are notifying the three credit report agencies of my filing bankruptcy.
21               We declare under penalty of perjury that the foregoing is true and correct.
22    Executed this        l'-/CJh      day of~, 2018 at Downey, California.
23

24

25

26                                                 Celia Lopez Vallecillo
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                                              D ECLA~"\ATION   -   1
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 1

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 3                        PROOF OF SERVICES BY MAIL-2015.5
 4

 5   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     I am a resident of/employed in the aforesaid county, State of California: I am over
 6   the age of eighteen years and I am not a party to this action; ~ business address
 7
     is: 8607 Imperial Hwy., Ste. 100, Down·e~ CA 90242. On
     served the foregoing: DECLARATION uF CELIA LOPEZ
                                                                     -mlffihuJlf
                                                                           E ILLO.  I
                                                                                     2CI(1
     On interested parties in thIS action by placIng a true copy thereof, enclosed IS a
 8   sealed envelope with postage hereon fully prepaid, in the United States mail at
     Downey, Caltfornia, addressed as follows:
 9

10
     ***SEE ATTACHED LIST***
11

12
     I declare under penalty of perjury under the laws of the State of California that the
13
     foregoing is true and correct.
14

15

16
     Dated:          \
              ~' IL( l~

     .~~
17

18

19
     Raymond Perez, Esq.
20

21

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                                         DECLARl'.T I ON -   2
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                   Cel ia Lopez Vallec illo
                   1430 Raitt Street , Apt . 3
                   Santa Ana , CA 92 704


                   Raymond Perez
                   Law Offices of Raymond Perez
                   8607 I mp e r i a l Hwy. , Ste . 100
                   Downey , CA 90242


                   American Eagle DC
                   P .O. Box 965005
                   Orlando , FL 32896


                   Bank of America
                   P .O . Box 982235
                   El Paso , TX 79998


                   Bank of America
                   P .O . Box 982235
                   El Paso , TX 79998


                   Citicards CBNA
                   701 E . 60th Street , Ste. N
                   Sioux Falls , SO 57104


                   Equifax
                   P .O. Box 740241
                   Atlanta , GA 30374


                   Experian
                   P.O. Box 9530
                   Allen , TX 75013
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                   JC Penn e y
                   P. O. Bo x 9 6 5 00 7
                   Or l a n do , FL 32 89 6


                   Mac y's
                   P. O. Bo x 82 1 8
                   Maso n, OH 45 040


                   Nissan Mot or Ac c e ptance
                   P. O. Bo x 6 60 36 6
                   Dallas, TX 7 52 66


                    Sears
                    P. O. Box 6 28 2
                    Si ou x Fa l ls, SO 57 1 1 7


                    Se a r s
                    P. O. Box 628 2
                    Si ou x Fa lls, SO 5 71 1 7


                   Ta rg et Nati onal Bank
                   P. O. Box 673
                   Minneapolis, MN 5 5 4 40


                   TJX Co
                   P. O. Box 965 0 1 5
                   Orl an do , FL 328 96


                   TJX Co
                   P. O. Box 9650 1 5
                   Or l ando , FL 3289 6
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                   Transunion
                   P.O. Box 2000
                   Chester, PA 19016


                   Victoria Secret
                   P.O. Box 659728
                   San Antonio, TX 78265


                   Walmart
                   P.o. Box 965024
                   Orlando, FL 32896


                   Walmart
                   P.O. Box 965024
                   Orlando, FL 32896
